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UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
-----------------------------------------------------------x
In re:                                                                  Case No. 18-44548 (CEC)

Norma V. Robinson,
                                                                        Chapter 13
                                    Debtor(s).
-----------------------------------------------------------x


                                         LOSS MITIGATION ORDER

          A Loss Mitigation Request 1 was filed by the Debtor on October 12, 2018.

          Upon the foregoing, it is hereby

        ORDERED, that the following parties (the “Loss Mitigation Parties”) are directed to
participate in the Loss Mitigation Program:

          1.       The Debtor; and

          2.       U.S. Bank National Association, as Trustee for the C-BASS Mortgage Loan Asset-
                   Backed Certificates, Series 2007-MX1, the Creditor with respect to 190-15 Linden
                   Blvd, Saint Albans NY 11412, Loan No. 6257.

       It is further ORDERED, that the Loss Mitigation Parties shall comply with the Loss
Mitigation Procedures annexed to this Order; and it is further

          ORDERED, that the Loss Mitigation Parties shall observe the following deadlines:

          1.       Each Loss Mitigation Party shall designate contact persons and disclose contact
                   information within 7 days of entry of this order, unless this information has been
                   previously provided. As part of this obligation, a Creditor shall furnish each Loss
                   Mitigation Party with written notice of the name, address and direct telephone
                   number of the person who has full settlement authority.

          2.       Each Creditor that is a Loss Mitigation Party shall contact the Debtor within 14
                   days of the date of this Order.

          3.       Each Loss Mitigation Party shall make its request for information and documents, if
                   any, within 14 days of the date of this Order.




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    All capitalized terms have the meanings defined in the Loss Mitigation Procedures.
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       4.      Each Loss Mitigation Party shall respond to a request for information and
               documents within 14 days after a request is made, or 7 days prior to the Loss
               Mitigation Session, whichever is earlier.

       5.      The Loss Mitigation Session shall be scheduled to occur no later than
               January 23, 2019

       6.      The Loss Mitigation Period shall terminate on February 5, 2019, unless extended as
               provided in the Loss Mitigation Procedures.

        It is further ORDERED, that a status conference will be held in this case on February 5,
2019 at 12:00 p.m. (the “Status Conference”) in Courtroom 3529 at the United States Bankruptcy
Court, Eastern District of New York, 271-C Cadman Plaza East, Brooklyn, New York 11201. The
Loss Mitigation Parties shall appear at the Status Conference and provide the Court with an oral
Status Report unless a written Status Report that is satisfactory to the Court has been filed not later
than 7 days prior to the date of the Status Conference and requests that the Status Conference be
adjourned or cancelled; and it is further

       ORDERED, that at the Status Conference, the Court may consider a Settlement reached by
the Loss Mitigation Parties, or may adjourn the Status Conference if necessary to allow for
adequate notice of a request for approval of a Settlement; and it is further

        ORDERED, that any matters that are currently pending between the Loss Mitigation
Parties (such as motions or applications, and any objection, opposition or response thereto) are
hereby adjourned to the date of the Status Conference to the extent those matters concern (1) relief
from the automatic stay, (2) objection to the allowance of a proof of claim, (3) reduction,
reclassification or avoidance of a lien, (4) valuation of a Loan or Property, or (5) objection to
confirmation of a plan of reorganization; and it is further

        ORDERED, that the time for each Creditor that is a Loss Mitigation Party in this case to
file an objection to a plan of reorganization in this case shall be extended until 14 days after the
termination of the Loss Mitigation Period, including any extension of the Loss Mitigation Period.




                                                                 ____________________________
   Dated: Brooklyn, New York                                             Carla E. Craig
          December 19, 2018                                      United States Bankruptcy Judge
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                      LOSS MITIGATION PROGRAM PROCEDURES

                                       I.       PURPOSE

        The Loss Mitigation Program is designed to function as a forum in individual
bankruptcy cases for debtors and lenders to reach consensual resolution whenever a debtor’s
residential property is at risk of foreclosure. The Loss Mitigation Program aims to facilitate
resolution by opening the lines of communication between the debtors’ and lenders’
decision-makers. While the Loss Mitigation Program stays certain bankruptcy deadlines that
might interfere with the negotiations or increase costs to the loss mitigation parties, the Loss
Mitigation Program also encourages the parties to finalize any Settlement (as defined below)
under bankruptcy court protection, instead of seeking dismissal of the bankruptcy case.
                           II.      LOSS MITIGATION DEFINED

         The term “loss mitigation” is intended to describe the full range of solutions that may
avert the loss of a debtor’s property to foreclosure, increased costs to the lender, or both. Loss
mitigation commonly consists of the following general types of agreements, or a combination of
them: loan modification, loan refinance, forbearance, short sale, or surrender of the property in
full satisfaction. The terms of a loss mitigation solution will vary in each case according to the
particular needs, interests, and goals of the parties.
                                    III.     ELIGIBILITY

        The following definitions are used to describe the types of parties, properties, and loans
that are eligible for participation in the Loss Mitigation Program:

A.      DEBTOR

        The term “Debtor” means any individual debtor in a case filed under Chapter 7, 11, 12, or
13 of the Bankruptcy Code, including joint debtors, whose case is assigned to Chief Judge Carla
E. Craig, Judge Dorothy T. Eisenberg, Judge Elizabeth S. Stong, or Judge Joel B. Rosenthal, or
any other judge who elects to participate in the Loss Mitigation Program.

B.      PROPERTY

        The term “Property” means any real property, including condominiums or
cooperative apartments, used as the Debtor’s principal residence, in which the Debtor holds
an interest.
C.      LOAN

        The term “Loan” means any mortgage, lien, or extension of money or credit secured by
eligible Property or stock shares in a residential cooperative, regardless of whether the Loan (1)
is considered to be “subprime” or “non-traditional;” (2) was in foreclosure prior to the
bankruptcy filing; (3) is the first or junior mortgage or lien on the Property; or (4) has been
“pooled,” “securitized,” or assigned to a servicer or to a trustee.
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D. CREDITOR

       The term “Creditor” means any holder, mortgage servicer, or trustee of an eligible Loan.
                              IV.      ADDITIONAL PARTIES

A.      OTHER CREDITORS

        Any party may request, or the bankruptcy court may direct, more than one Creditor to
participate in the Loss Mitigation Program, where it may be of assistance to obtain a global
resolution.

B.      CO-DEBTORS AND THIRD PARTIES

        Any party may request, or the bankruptcy court may direct, a co-debtor or other third
party to participate in the Loss Mitigation Program, where the participation of such party may
be of assistance, to the extent that the bankruptcy court has jurisdiction over the party or the
party consents.
C.      CHAPTER 13 TRUSTEE

        Any party may request, or the bankruptcy court may direct, the Chapter 13 Trustee to
participate in the Loss Mitigation Program to the extent that such participation is consistent with
the Chapter 13 Trustee’s duty under Bankruptcy Code Section 1302(b)(4) to “advise, other than
on legal matters, and assist the debtor in performance under the Chapter 13 plan.”

D.      MEDIATOR

       Any party may request, or the bankruptcy court may direct, a mediator from the
Mediation Register maintained by the United States Bankruptcy Court for the Eastern District of
New York to participate in the Loss Mitigation Program.

                  V.        COMMENCEMENT OF LOSS MITIGATION

        Parties are encouraged to request to enter into the Loss Mitigation Program as early in
the case as possible, but a request may be made at any time as follows.

A.      BY THE DEBTOR
         1.      In a case under Chapter 13, the Debtor may request to enter into the Loss
Mitigation Program with a particular Creditor in the Chapter 13 plan, and shall note the making
of the request in the docket entry for the plan. The Creditor shall have 21 days to object. If no
objection is filed, the bankruptcy court may enter an order referring the parties to the Loss
Mitigation Program (a “Loss Mitigation Order”).
        2.      A Debtor may serve and file a request to enter into the Loss Mitigation Program
with a particular Creditor. The Creditor shall have 14 days to object. If no objection is filed, the
bankruptcy court may enter a Loss Mitigation Order.




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        3.      If a Creditor has filed a motion for relief from the automatic stay pursuant to
Bankruptcy Code Section 362 (a “Lift-Stay Motion”), the Debtor may serve and file a request to
enter into the Loss Mitigation Program at any time before the conclusion of the hearing on the
Lift-Stay Motion. The bankruptcy court will consider the Debtor’s request and any opposition
by the Creditor at the hearing on the Lift-Stay Motion.
B.      BY A CREDITOR

       A Creditor may serve and file a request to enter into the Loss Mitigation Program. The
Debtor shall have 14 days to object. If no objection is filed, the bankruptcy court may enter a Loss
Mitigation Order.

C.      BY THE BANKRUPTCY COURT

        The bankruptcy court may enter a Loss Mitigation Order at any time after notice to the
parties to be bound (the “Loss Mitigation Parties”) and an opportunity to object.

D.      HEARING ON OBJECTION

        If any party files an objection, the bankruptcy court shall hold a hearing on the request to
enter the Loss Mitigation Program and the objection, and shall not enter a Loss Mitigation Order
until the objection has been heard.

              VI.     LOSS MITIGATION ORDER


A.     DEADLINES

       A Loss Mitigation Order shall contain:

        1.     The date by which contact persons and telephone contact information shall
be provided by the Loss Mitigation Parties.
        2.      The date by which each Creditor shall initially contact the Debtor.

       3.      The date by which each Creditor shall transmit any request for information
or documents to the Debtor.

       4.      The date by which the Debtor shall transmit any request for information
or documents to each Creditor.

          5.      The date by which a written status report shall be filed, or the date and time for a
status conference and oral status report (whether written or oral, a “Status Report”). In a Chapter
13 case, the status conference shall coincide, if possible, with a hearing on confirmation of the
Chapter 13 plan. A date to file a written report shall be, if possible, not later than 7 days after the
initial loss mitigation session.
         6.      The date when the loss mitigation process (the “Loss Mitigation Period”)
shall terminate, unless extended.




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B.     EFFECT

       During the Loss Mitigation Period:
        1.     A Creditor may contact the Debtor directly, and it shall be presumed that
such contact does not violate the automatic stay.

         2.     A Creditor may not file a Lift-Stay Motion, except where necessary to prevent
irreparable injury. A Lift-Stay Motion filed by the Creditor before the entry of the Loss
Mitigation Order shall be adjourned to a date following the Loss Mitigation Period, and the stay
shall be extended pursuant to Bankruptcy Code Section 362(e).

        3.      In a Chapter 13 case, the date by which a Creditor must object to confirmation
of the Chapter 13 plan shall be extended to a date that is at least 14 days following the Loss
Mitigation Period.

        4.     Federal Rule of Evidence 408 shall apply to communications, information
and documents exchanged by the Loss Mitigation Parties in connection with the Loss
Mitigation Program.

        VII.    DUTIES UPON COMMENCEMENT OF LOSS MITIGATION

A.     GOOD FAITH

        The Loss Mitigation Parties shall negotiate in good faith. A party that does not
participate in the Loss Mitigation Program in good faith may be subject to sanctions.

B.     CONTACT INFORMATION

        1.     The Debtor: The Debtor shall provide written notice to each Loss Mitigation
Party of the manner in which the Creditor shall contact the Debtor or the Debtor’s attorney. This
may be done in the request to enter the Loss Mitigation Program.

        2.      The Creditor: Each Creditor shall provide written notice to the Debtor of the
name, address and direct telephone number of the contact person with authority to act on the
Creditor’s behalf. This may be done in the request to enter the Loss Mitigation Program.

C.     STATUS REPORT

        The Loss Mitigation Parties shall provide a written or oral Status Report to the
bankruptcy court within the period set in the Loss Mitigation Order. The Status Report shall
indicate how many loss mitigation sessions have occurred, whether a resolution has been
reached, and whether a Loss Mitigation Party believes that additional sessions may result in
partial or complete resolution. A Status Report may include a request for an extension of the
Loss Mitigation Period.




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D.     BANKRUPTCY COURT APPROVAL

       The Loss Mitigation Parties shall seek bankruptcy court approval of any Settlement
reached during loss mitigation.
                         VIII. LOSS MITIGATION PROCESS

A.     INITIAL CONTACT

         Following entry of a Loss Mitigation Order, the contact person designated by each
Creditor shall contact the Debtor and any other Loss Mitigation Party within the time set by the
bankruptcy court. The Debtor may contact any Loss Mitigation Party at any time. The purpose of
the initial contact is to create a framework for the loss mitigation session and to ensure that the
Loss Mitigation Parties are prepared. The initial contact is not intended to limit the issues or
proposals that may arise during the loss mitigation session.

       During the initial contact, the Loss Mitigation Parties shall discuss:

        1.      The time and method for conducting the loss mitigation sessions.

        2.      The loss mitigation alternatives that each party is considering.
        3.      The exchange of information and documents before the loss mitigation session,
including the date by when the Creditor shall request information and documents from the
Debtor and the date by when the Debtor shall respond. All information and documents shall be
provided at least seven days before the first loss mitigation session.

B.     LOSS MITIGATION SESSIONS

       Loss mitigation sessions may be conducted in person, by telephone, or by video
conference. At the conclusion of each loss mitigation session, the Loss Mitigation Parties shall
discuss whether and when to hold a further session, and whether any additional information or
documents should be exchanged.

C.     BANKRUPTCY COURT ASSISTANCE

        At any time during the Loss Mitigation Period, a Loss Mitigation Party may request
a settlement conference or status conference with the bankruptcy judge.

D.     SETTLEMENT AUTHORITY
        At a loss mitigation session, each Loss Mitigation Party shall have a person with full
settlement authority present. At a status conference or settlement conference with the
bankruptcy court, each Loss Mitigation Party shall have a person with full settlement authority
present. If a Loss Mitigation Party is appearing by telephone or video conference, that party
shall be available beginning thirty minutes before the conference.




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           IX.    DURATION, EXTENSION AND EARLY TERMINATION
A.     INITIAL PERIOD

      The initial Loss Mitigation Period shall be set by the bankruptcy court in the
Loss Mitigation Order.

B.     EXTENSION

        1.      By Agreement: The Loss Mitigation Parties may agree to extend the Loss
Mitigation Period by stipulation to be filed not less than one business day before the Loss
Mitigation Period ends.

         2.      In the Absence of Agreement: A Loss Mitigation Party may request to extend the
Loss Mitigation Period in the absence of agreement by filing and serving a request to extend the
Loss Mitigation Period on the other Loss Mitigation Parties, who shall have seven days to object.
If the request to extend the Loss Mitigation Period is opposed, then the bankruptcy court shall
schedule a hearing on the request. The bankruptcy court may consider whether (1) an extension
of the Loss Mitigation Period may result in a complete or partial resolution that provides a
substantial benefit to a Loss Mitigation Party; (2) the party opposing the extension has
participated in good faith and complied with these Loss Mitigation Procedures; and (3) the party
opposing the extension will be prejudiced.

C.     EARLY TERMINATION

        1.       Upon Request of a Loss Mitigation Party: A Loss Mitigation Party may request
to terminate the Loss Mitigation Period by filing and serving a request to terminate the Loss
Mitigation Period on the other Loss Mitigation Parties, who shall have seven days to object. If
the request to terminate the Loss Mitigation Period is opposed, then the bankruptcy court shall
schedule a hearing on the request. Notice may be modified for cause if necessary to prevent
irreparable injury.

        2.      Dismissal of the Bankruptcy Case: A Chapter 13 bankruptcy case shall not be
dismissed during the pendency of a Loss Mitigation Period, except (1) upon motion of the
Chapter 13 Trustee or the United States Trustee for failure to comply with the requirements of
the Bankruptcy Code; or (2) upon the voluntary request of the Chapter 13 Debtor. A Chapter 13
Debtor may not be required to request dismissal of the bankruptcy case as part of a
Settlement during the Loss Mitigation Period. If a Chapter 13 Debtor requests voluntary
dismissal during the Loss Mitigation Period, the Debtor shall indicate whether the Debtor agreed
or intends to enter into a Settlement with a Loss Mitigation Party.

D. DISCHARGE

      The Clerk of the Court shall not enter a discharge during the pendency of a
Loss Mitigation Period.




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                                  X.        SETTLEMENT

       The bankruptcy court shall consider any agreement or resolution (a “Settlement”)
reached during loss mitigation and may approve the Settlement, subject to the following
provisions:
        1.      Implementation: A Settlement may be noticed and implemented in any manner
permitted by the Bankruptcy Code and Federal Rules of Bankruptcy Procedure (the
“Bankruptcy Rules”), including but not limited to a stipulation, sale, Chapter 11 plan of
reorganization, or Chapter 13 plan.

        2.      Fees, Costs, or Charges: If a Settlement provides for a Creditor to receive
payment or reimbursement of any expense arising from the Creditor’s participation in the Loss
Mitigation Program, that expense shall be disclosed to the Debtor and the bankruptcy court
before the Settlement is approved.

        3.       Signatures: Consent to the Settlement shall be acknowledged in writing by
the Creditor representative who participated in the loss mitigation session, the Debtor, and
the Debtor’s attorney, if applicable.

        4.     Hearing: Where a Debtor is represented by an attorney, a Settlement may be
approved by the bankruptcy court without further notice, or upon such notice as the
bankruptcy court directs, unless additional notice or a hearing is required by the Bankruptcy
Code or Bankruptcy Rules. Where a Debtor is not represented by counsel, a Settlement shall
not be approved until the bankruptcy court conducts a hearing at which the Debtor shall appear
in person.

         5.      Dismissal Not Required: A Debtor shall not be required to request dismissal of
the bankruptcy case in order to effectuate a Settlement. In order to ensure that the Settlement
is enforceable, the Loss Mitigation Parties shall seek bankruptcy court approval of the Settlement.
Where the Debtor requests or consents to dismissal of the bankruptcy case as part of the
Settlement, the bankruptcy court may approve the Settlement as a “structured dismissal,” if such
relief complies with the Bankruptcy Code and Bankruptcy Rules.


                     XI. LOSS MITIGATION FINAL REPORT

        Debtor’s counsel (or the Debtor, if the Debtor is proceeding without attorney
representation) shall file with the Court a Loss Mitigation Final Report. The form of Loss
Mitigation Final Report is on the Court’s website. The Loss Mitigation Final Report shall
be filed no later than 14 days after termination of the Loss Mitigation Period. Termination
occurs:

        1.     when the Court enters an order terminating the Loss Mitigation Period;

        2.     when the Court approves a stipulated agreement that has been presented to
               the Court, which provides for settlement or resolution of the Loss
               Mitigation; or

        3.     upon expiration of the Loss Mitigation Period.


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         Where two or more requests for Loss Mitigation have been made in a case, for
different properties or different mortgages on a property, a separate Loss Mitigation Final
Report must be filed with respect to each request.

               XII.   COORDINATION WITH OTHER PROGRAMS

        [Provision may be added in the future to provide for coordination with other loss
mitigation programs, including programs in the New York State Unified Court System.]
